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SO ORDERED.
SIGNED this 26th day of May, 2021


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.



   _____________________________________________________________
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